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                      Exhibit 2(a)
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

       eCOMSYSTEMS, INC.                            Case No. 8:10-cv-01531-VMC-MAP

              Plaintiff,

       V.

       SHARED MARKETING SERVICES, INC.,
       and ACE HARDWARE CORPORATION,

              Defendants.
       ----------------
                                                        I

                        AFFIDAVIT OF MICHAEL J. CO LITZ, III, ESQ.
                       AS TO REASONABLENESS OF ATTORNEYS' FEES

       STATE OF FLORIDA                      )
       COUNTY OF HILLSBOROUGH                )

              BEFORE ME, the undersigned authority, personally appeared Michael J. Colitz,

       III, who, being first duly sworn, deposes and says:

             1.       I am an attorney-at-law who is admitted to the Bar of the State of Florida.

       I am registered to Practice before the United States Patent and Trademark Office. I have

       been admitted to the Florida Bar since 1999. I have been admitted to practice before the

       United States Patent and Trademark Office since 1993.

             2.       I have been a partner of the law firm of GrayRobinson, P.A. in Tampa,

       Florida for approximately three (3) years.   I was previously a partner at the law firm of

       Holland & Knight, LLP. I practice exclusively in the area of Intellectual Property law.

             3.       I am a 1991 graduate of the University of Notre Dame with a Bachelor of

       Science in Mechanical Engineering. I obtained my law degree from Stetson University

       College of Law in 1998.




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             4.          I have always limited my practice to intellectual property law, including

       patent, trademark, and copyright litigation, and related prosecution and licensing. I have

       been substantively involved in over fifty (50) intellectual property law cases in various

       federal courts throughout the country.

             5.          I am a Registered Patent Attorney, and I am also Board Certified by the

       Florida Bar in Intellectual Property Law. I am a member in good standing of the District

       Courts for the Northern, Middle and Southern Districts of Florida, the U.S. Court of

       Appeals for the Eleventh Circuit, and the U.S. Court of Appeals for the Federal Circuit.

             6.          I frequently lecture on various topics relating to intellectual property law.

       I also occasionally teach patent law to graduate level engineering students at the

       University of South Florida.

             7.          I am aware of and knowledgeable of the amount customarily charged by

       attorneys and allowed by courts as a reasonable attorneys' fee for handling intellectual

       property cases.

             8.          I have been called upon to express an opinion as to what would constitute

       a reasonable attorneys' fee for the services rendered by Matthew J. Dowd and Floyd B.

       Chapman as attorneys for eCOMSYSTEMS, Inc. in the above captioned litigation.

             9.          I have reviewed the professional qualifications of Messrs. Dowd and

       Chapman. Mr. Dowd has been Registered to Practice before the United States Patent and

       Trademark Office since March 19, 2001 and has practiced law for over four years. Mr.

       Chapman has practiced law for over 18 years and has specialized in patent litigation for

       more than 17 years.        Both attorneys practice with the firm of Wiley Rein, LLP in

       Washington, D.C.




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             10.      I reviewed the time entries and billing narratives for Messrs. Dowd and

       Chapman for various motions filed in the litigation. A summary of these time entries and

       billing narratives is attached hereto as Exhibit "A."

             11.      I reviewed the time entries associated with the following motions:

              a.      Plaintiff eCOMSYSTEMS, Inc.'s Motion to Compel Defendants to
                      Supplement Responses to Interrogatory Numbers 2, 3, 4, 7 and 8 [Dkt.
                      90];

              b.      Plaintiff eCOMSYSTEMS, Inc.'s Motion to Compel Shared Marketing
                      Services to Produce Documents [Dkt. 104];

              c.      Plaintiff eCOMSYSTEMS, Inc.'s Motion to Sanction and Compel Shared
                      Marketing Services to Produce Documents [Dkt. 119];

              d.      Plaintiff eCOMSYSTEMS's Motion for Sanctions Against Shared
                      Marketing Services, Inc. for Failure to Respond to Second Set of
                      Interrogatories [Dkt. 120];

              e.      Plaintiff eCOMSYSTEMS's Motion to Compel and for Sanctions Against
                      Shared Marketing Services, Inc. for Failure to Attend the 30(b)(6)
                      Deposition [Dkt. 136].

             12.      In connection with Dkt. 90 (item 1 l(a) above), Mr. Dowd claims a fee in

       an amount totaling $12,220.20 for a total of 29.2 hours; Mr. Chapman claims a fee in an

       amount totaling $1,398.60. for a total of 2.8 hours.

             13.      In connection with Dkt. 104 (item 11 (b) above), Mr. Dowd claims a fee in

       an amount totaling $15,986.70 for a total of 38.2 hours; Mr. Chapman claims a fee in an

       amount totaling $2,047.95 for a total of 4.1 hours.

             14.      In connection with Dkt. 119 and Dkt. 120 (items ll(c) and ll(d) above),

       Mr. Dowd claims a fee of $11,969.10 for a total of28.6 hours; Mr. Chapman claims a fee

       in an amount of $2,197.80 for a total of 4.4 hours.




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             15.       In connection with Dkt. 136 (item 1l(e) above), Mr. Dowd claims a fee of

       $2,619.00 for a total of 6.0 hours; Mr. Chapman claims a fee in an amount of $258.75 for

       a total of .2 hours.

             16.       Mr. Dowd's standard billing rate during 2011 was $465/hr. Since 2012

       Mr. Dowd's standard billing rate has been $485.00.          However, Mr. Dowd's effective

       billing rate in this matter was substantially lower than his standard billing rate. This was

       achieved both by a significant reduction in the number of billable hours requested for

       reimbursement and a 10% discount to his standard billing rate.

             17.       Mr. Chapman's standard billing rate during 2011 was $555/hr.           Since

       2012, Mr. Chapman's standard billing rate has been $585.00. However, Mr. Chapman's

       effective billing rate in this matter was substantially lower than his standard billing rate.

       This was achieved both by a significant reduction in the number of billable hours

       requested for reimbursement and a 10% discount to his standard billing rate.

             18.       I have reviewed and examined the noted time entries in this case and have

       considered the following factors:

               a.      the time and labor required;

               b.      the novelty and difficulty of the legal and factual questions;

               c.      the skill requisite to be perform the legal service properly;

               d.      the exclusion of other employment by the attorneys due to the acceptance

                       of the case;

               e.      the customary fees of the bar and the fees awarded by the courts for

                        similar services;

               f.      the time and preparation for the motion;




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                g.     the time and limitations imposed by the client or by the circumstances;

                h.     the amount involved and the results obtained;

                1.     the experience, reputation and ability of the attomey(s).

              19.      The Affiant is of the opinion that the total number of hours sought for

       reimbursement and the effective hourly billing rates (as reflected in Exhibit A) are

       reasonable and not excessive for a case such as this and are of the magnitude that would

       have been charged by lawyers of the same skill level under similar circumstances.

              20.      The Affiant believes that the total fees sought for reimbursement as

       reflected in Exhibit A were necessarily incurred in the successful prosecution of this case.

                Further affiant sayeth naught.



                                                             Michael J. Colitz, III



                                                            ,t1...
                Sworn to and subscribed before me this 1,J_ day o f ~ ' 20                                    by Michael
       J. Colitz, III, who is •   personally known OR D has produced _ _ _ _ _ _ _ __
       as identification.


        My commission expires:
       (seal)                                         (Signature ifNotary)

                                                          4~~~                         s-;5:1:
                                                      (Printe Name ofNotary Public)


       # 3123653 v2

                                                                              ANGELA SOSIK
                                                                       MY COMMISSION# EE 129780
                                                                      EXPIRES: September 13, 2015
                                                                     Bonded Thru Notary Public Underwriters




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                      Exhibit 2(b)
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


     eCOMSYSTEMS, INC.,                              Case No.: 8:10-cv-01531-VMC-MAP

                          Plaintiff,                 Judge Virginia M. Hernandez Covington

                          v.                         Magistrate Judge Mark A. Pizzo

     SHARED MARKETING SERVICES, INC.,                Jury Trial Demanded
     and ACE HARDWARE CORPORATION

                          Defendants.
                                                 /


       PLAINTIFF eCOMSYSTEMS, INC.’S ACCOUNTING OF ATTORNEY FEES
        AND EXPENSES AS AWARDED BY COURT ORDER OF MARCH 16, 2012


            Plaintiff eComSystems, Inc. (“eComSystems”) hereby respectful submits its

     accounting of attorneys fees and expenses, and its memorandum in support, in response

     to the Court’s March 16, 2012, Order. (Dkt. No. 157.)

            In the March 16 Order, the Court granted five discovery motions filed by

     eComSystems. (See Dkt. Nos. 90, 104, 119, 120, 136.) Pursuant to the Order, Defendant

     Shared Marketing Services, Inc. (“SMS”) was ordered to comply with a number of

     outstanding discovery obligations. The deadline for doing so was ten days from the

     Order, i.e., March 26, 2012.      Prior to the deadline, eComSystems had received no

     communication from SMS regarding its efforts, if any, to comply with the Court’s Order.

            On March 27, counsel for eComSystems wrote to Rick Lattanzio, president of

     SMS, to inquire whether SMS had any intention of complying with the Court’s Order. In
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     response, Mr. Lattanzio made clear that SMS has made no effort to comply and that SMS

     does not intend to comply with the Court’s Order.1 On March 28, 2012, eComSystems

     filed a Status Update to inform the Court about SMS’s failure to comply with the Court’s

     most recent order.

             Reasonable Attorney Fees

             In calculating an award of attorney fees, the starting point is to multiply (1) the

     number of hours reasonably expended by (2) a reasonable hourly rate.                          Hensley v.

     Eckerhart, 461 U.S. 424, 433 (1983). This “lodestar” may then be adjusted for the results

     obtained. Id. at 435-37; Loranger v. Stierheim, 10 F.3d 776, 781 (11th Cir. 1994)

     Norman v. Housing Auth., 836 F.2d 1292, 1302 (11th Cir. 1988).

             The first step in the computation of the lodestar is determining the reasonable

     hourly rate. “A reasonable hourly rate is the prevailing market rate in the relevant legal

     community for similar services by lawyers of reasonably comparable skills, experience,

     and reputation.” Norman, 836 F.2d at 1299 (citing Blum v. Stenson, 465 U.S. 886, 895-

     96 n.11 (1984)). As the party seeking attorney fees, eComSystems bears the burden of

     producing “satisfactory evidence that the requested rate is in line with prevailing market

     rates.” Id.; see also Duckworth v. Whisenant, 97 F.3d 1393, 1396 (11th Cir. 1996).

             eComSystems hereby submits a declaration of Michael J. Colitz III in support of

     the reasonable hourly rates. As explained in the declaration, such rates are entirely within

     the normal range patent litigations. Moreover, the rates are reasonable considering all the


     1
       Counsel for eComSystems notes that Mr. Lattanzio did contact counsel for eComSystems on April 19,
     2012. Mr. Lattanzio indicated, inter alia, that SMS is still not represented by counsel. Absent some change
     in circumstances, eComSystems intends to file its motion for default judgment in short order.




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      relevant factors, including the complexity of the patent infringement suit—five patents

      covering computer-based methods of creating customized advertisements.

             eComSystems also submits declarations from its counsel Floyd B. Chapman and

      Matthew J. Dowd, describing their relevant legal experience.         The declarations of Mr.

      Chapman and Mr. Dowd set forth the substantial experience and expertise of

      eComSystems counsel.

             The second step of the lodestar calculation is determining the reasonable number

      of hours expended. The court must determine “the number of hours (tempered by billing

      judgment) spent in the legal work on the case.” Dillard v. City of Greensboro, 213 F.3d

      1347, 1353 (11th Cir. 2000). “Billing judgment” instructs to exclude hours that would

      not reasonably be billed to a client “irrespective of the skill, reputation or experience of

      counsel.” Norman, 836 F.2d at 1301 (emphasis omitteed).

             The court may also consider the twelve factors enumerated in Johnson v. Georgia

      Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974). See Loranger v. Stierheim,

      10 F.3d 776, 781 n.6 (11th Cir. 1994) (per curiam). The twelve factors are: (1) the time

      and labor required; (2) the novelty and difficulty of the questions; (3) the skill requisite to

      perform the legal service properly; (4) the preclusion of other employment by the

      attorney due to acceptance of the case; (5) the customary fee; (6) whether the fee is fixed

      or contingent; (7) time limitations imposed by the client or the circumstances; (8) the

      amount involved and the results obtained; (9) the experience, reputation, and the ability

      of the attorneys; (10) the “undesirability” of the case; (11) the nature and length of the




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      professional relationship with the client; and (12) awards in similar cases. Johnson, 488

      F.2d at 717-19.

               Here, eComSystems has submitted a chart itemizing the hours spent by its

      attorneys on the five motions at issue. As explained in the declaration of Mr. Chapman

      and Mr. Dowd, the time entries as presented on the attached exhibit are identical to the

      time billed to eComSystems for the five motions at issue. See City of Brunswick, Ga. v.

      United States, 661 F. Supp. 1431, 1447 (S.D. Ga. 1987) (“[T]here is no requirement in

      this Circuit that ‘contemporaneous time records’ constitute the only acceptable method of

      documentation.”), rev’d on other grounds, 849 F.2d 501 (11th Cir. 1988). Furthermore,

      the attached table identifies “the general subject matter of [the] time expenditures,” and

      such an identification is sufficient. See Hensley, 461 U.S. at 437 n.12.

               The number of hours requested for the five motions is imminently reasonable,

      given that eComSystems was successful on five motions to compel. eComSystems notes

      that several time entries describe legal work performed for this case but not directly

      related to the motions and fee request presently at issue. As explained in the declarations

      of Mr. Chapman and Mr. Dowd, counsel has reduced the number of hours based on their

      good-faith based effort to conservatively estimate the time spent solely on the motions at

      issue.

               Fees and Expenses Relating to the Individual Motions

               eComSystems provides below a summary of the fees and costs attributable to

      each of the individual motions.




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               Motion (by Dkt. No.)                           Fees / Costs sought

               Dkt. No. 90                                    $13,618.80

               Dkt. No. 104                                   $18,034.65

               Dkt. No. 119                                   $7,083.45

               Dkt. No. 120                                   $7,083.45

               Dkt. No. 136                                   $4,334.33 (including costs)

               TOTAL:                                        $50,154.68



             Note that, because the motions for Docket Nos. 119 and 120 were prepared in

      tandem, the attorney fees were calculated based on evenly split work for the two motions.

      In other words, the total hours devoted to Docket Nos. 119 and 120 are shown together in

      the attached summary, and the requested fees are equal for each motion.

             CONCLUSION

             For the foregoing reasons, eComSystems respectfully requests that the Court

      grant its requests for attorney fees and costs in the amount identified above.




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      Dated: April 27, 2012           Respectfully submitted,

                                      /s/ Matthew J. Dowd
                                      ___________________________
                                      Dineen Pashoukos Wasylik
                                      Florida Bar No. 0191620
                                      CONWELL KIRKPATRICK, PA
                                      2701 North Rocky Point Drive, Suite 1200
                                      Tampa, Florida 33607
                                      813-282-8000; 813-282-8800 (fax)
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                                      James Remenick (pro hac vice)
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                                      msmith@remenicklaw.com

                                      Floyd B. Chapman (pro hac vice)
                                      Robert J. Scheffel (pro hac vice)
                                      Matthew J. Dowd (pro hac vice)
                                      WILEY REIN, LLP
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                                      202-719-7000; 202-719-7049(fax)
                                      fchapman@wileyrein.com
                                      rscheffel@wileyrein.com
                                      mdowd@wileyrein.com

                                      Counsel for Plaintiff




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                                  CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that, on this 27th day of April 2012, a copy of the foregoing

      document was electronically filed with the Clerk of the Court using the CM/ECF system,

      and was served by e-mail and first-class mail on the following:

      Mr. Rick Lattanzio
      Shared Marketing Services, Inc.
      444 North Michigan Avenue, 28th Floor
      Chicago, IL 60611
      Rlattanzio@sharedmarketing.com



                                           /s/ Matthew J. Dowd___________
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                       Exhibit 2(c)
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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION

      eCOMSYSTEMS, INC.,

                        Plaintiff,

      v.                                                         Case No. 8:10-cv-1531-T-33MAP

      SHARED MARKETING SERVICES, INC.,
      and ACE HARDWARE CORPORATION,

                        Defendants.

      ____________________________________/

                                                   ORDER

                 This cause is before the Court on Plaintiff’s accounting of attorney’s fees and

      expenses (doc. 163). This Court previously entered an Order granting five discovery motions

      (docs 90, 104, 119, 120, and 136) and awarding Plaintiff reasonable expenses, costs, and

      attorney’s fees associated with these motions, in addition to costs associated with Defendant

      Shared Marketing Services, Inc.’s failure to appear at a noticed 30(b)(6) deposition (doc.

      157). Plaintiff requests a total of $50,154.68 for the fees and costs associated with these

      motions and costs associated with the 30(b)(6) deposition. Upon this Court’s review,

      Plaintiff’s costs for the 30(b)(6) deposition and the fees and costs associated with the

      discovery motions appear justified; however, Mr. Chapman’s calculation as to his fee for the

      filing of doc. 136 appears to be in error. See doc. 163 p. 5 and 163-4 p. 16.

                 Mr. Chapman lists his hourly rate at $575.00 and having billed .2 hours in regards to

      doc. 136.1 By the Court’s calculation, this would result in a fee of $115.00, less any



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               I note Mr. Chapman’s calculation included a 10% discount.
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      discount. However, Mr. Chapman seeks $258.75, which amounts to an hourly rate of

      $1293.75. The Court will calculate his fee according to the hourly billing rate and 10%

      discount he has set forth in his accounting and award $103.50 as it relates to doc. 136.

      Accordingly, it is

             ORDERED:

             1.      Plaintiff is awarded reasonable attorney’s fees, costs, and expenses in the

                     amount of $49,999.43.

      DONE and ORDERED at Tampa, Florida on June 5, 2012.




      cc:    Counsel of record




                                                  2
